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                                                                          1                     IN THE UNITED STATES DISTRICT COURT
                                                                          2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          3
                                                                              IN RE: CATHODE RAY TUBE (CRT)      )       MDL No. 1917
                                                                          4   ANTITRUST LITIGATION               )
                                                                                                                 )       Case No. C-07-5944-SC
                                                                          5                                      )
                                                                              This Order Relates To:             )       ORDER GRANTING THOMSONS'
                                                                          6                                      )       ADMINISTRATIVE MOTIONS FOR
                                                                              Sharp Electronics Corp. v. Hitachi )       LEAVE TO FILE UNDER SEAL
                                                                          7   Ltd., No. C-13-1173-SC;            )
                                                                                                                 )
                                                                          8   Electrograph Systems, Inc. v.      )
                                                                              Technicolor SA, No. 13-cv-05724;   )
                                                                          9                                      )
                                                                              Siegel v. Technicolor SA, No. 13- )
                                                                         10   cv-05261;                          )
                               For the Northern District of California
United States District Court




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                                                                         11   Best Buy Co., Inc. v. Technicolor )
                                                                              SA, No. 13-cv-05264;               )
                                                                         12                                      )
                                                                              Target Corp. v. Technicolor SA,    )
                                                                         13   No. 13-cv-05686                    )
                                                                                                                 )
                                                                         14   Interbond Corporation of America   )
                                                                              v. Technicolor                     )
                                                                         15   SA, No. 13-cv-05727;               )
                                                                                                                 )
                                                                         16   Office Depot, Inc. v. Technicolor )
                                                                              SA, No. 13-cv-05726;               )
                                                                         17                                      )
                                                                              Costco Wholesale Corporation v.    )
                                                                         18   Technicolor SA, No. 13-cv-05723;   )
                                                                                                                 )
                                                                         19   P.C. Richard & Son Long Island     )
                                                                              Corporation v. Technicolor SA, No. )
                                                                         20   13-cv-05725;                       )
                                                                                                                 )
                                                                         21   Schultze Agency Services, LLC v.   )
                                                                              Technicolor SA, Ltd., No. 13-cv-   )
                                                                         22   05668;                             )
                                                                                                                 )
                                                                         23   Sears, Roebuck and Co. and Kmart   )
                                                                              Corp. v. Technicolor SA, No. 3:13- )
                                                                         24   cv-05262;                          )
                                                                                                                 )
                                                                         25   Tech Data Corp., et al. v.         )
                                                                              Hitachi, Ltd., et al., No. 13-cv- )
                                                                         26   00157;                             )
                                                                                                                 )
                                                                         27   Crago, et al. v. Mitsubishi Elec. )
                                                                              Corp., et al., No. 14-cv-02058.    )
                                                                         28                                      )
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                                                                          1          Now before the Court are two administrative motions for leave
                                                                          2   to file under seal submitted by the Thomson Defendants.1              ECF Nos.
                                                                          3   2782 ("Deadline Mot."), 2783 ("Depo. Mot.").            The motions seek
                                                                          4   leave to file under seal Exhibit A to the Declaration of Stephen
                                                                          5   Judge, ECF Nos. 2782-1 ("Judge Deadline Decl.") Ex. A; 2783-1
                                                                          6   ("Judge Depo. Decl.") Ex. A (collectively, the "Judge
                                                                          7   Declarations"), as well as portions of two briefs filed by Thomson
                                                                          8   Defendants in opposition to discovery motions filed by the Direct
                                                                          9   Action Plaintiffs ("DAPs").
                                                                         10          As required by Civil Local Rule 79-5, counsel for Thomson
                               For the Northern District of California
United States District Court




                                                                         11   Defendants, Stephen Judge, filed declarations in support of both
                                                                         12   motions discussing the materials to be sealed, referencing prior
                                                                         13   orders sealing materials referenced in their briefing, and noting
                                                                         14   that Samsung SDI designated Exhibit A to the Judge Declarations as
                                                                         15   confidential pursuant to the parties' stipulated protective order,
                                                                         16   ECF No. 1142.      Judge Deadline Decl. ¶¶ 2, 9-11; Judge Depo. Decl.
                                                                         17   ¶¶ 2, 9-10.      Subsequently, as required by Civil Local Rule 79-5(e),
                                                                         18   counsel for Samsung SDI filed a declaration establishing the
                                                                         19   sealability of Exhibit A to the Judge Declarations.             ECF No. 2813
                                                                         20   ("Cunningham Decl.").
                                                                         21   ///
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                                                                         28     The Thomson Defendants are Technicolor SA (f/k/a Thomson SA) and
                                                                              Technicolor USA, Inc. (f/k/a Thomson Consumer Electronics, Inc.).


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                                                                          1   Accordingly, leave to file under seal is GRANTED as to:
                                                                          2
                                                                              Document:                                             Sealed Portion:
                                                                          3
                                                                          4   Declaration of Stephen Judge in Support of     Exhibit A, ECF
                                                                              Thomson Defendants' Administrative Motion for  No. 2782-4.
                                                                          5   Leave to File Under Seal and Opposition to
                                                                              Direct Action Plaintiffs' Motion to Extend the
                                                                          6   Discovery Deadline Against the Thomson
                                                                          7   Defendants. ECF No. 2782-1.

                                                                          8
                                                                              Declaration of Stephen Judge in Support of    Exhibit A, ECF
                                                                          9   Thomson Defendants' Administrative Motion for No. 2783-4.
                                                                              Leave to File Under Seal and Opposition to
                                                                         10
                                                                              Direct Action Plaintiffs' Motion to Issue a
                               For the Northern District of California
United States District Court




                                                                         11   Letter of Request For International Judicial
                                                                              Assistance to Take Depositions in France. ECF
                                                                         12   No. 2783-1.
                                                                         13
                                                                         14   Thomson Defendants' Opposition to Direct              Pages 3:13-14;
                                                                              Action Plaintiffs' Motion to Extend the               3:21; 4:1-7. ECF
                                                                         15   Discovery Deadline Against the Thomson                No. 2782-2.
                                                                              Defendants.
                                                                         16
                                                                         17
                                                                              Thomson Defendants' Opposition to Direct       Pages 3:16-18;
                                                                         18   Action Plaintiffs' Motion to Issue a Letter of 3:24; 4:3-5. ECF
                                                                              Request for International Judicial Assistance  No. 2783-2.
                                                                         19   to Take Depositions in France.
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                                                                          1        Nevertheless, counsel for Thomson Defendants failed to comply
                                                                          2   with the local rules by not submitting a proposed order with their
                                                                          3   administrative motions for leave to file under seal.          See Civ. L.R.
                                                                          4   79-5(d)(1)(B).   Counsel for all parties are reminded that if they
                                                                          5   fail to comply with the requirements of Civil Local Rule 79-5, they
                                                                          6   risk denial of their motions for leave to file under seal.
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                                                                          8   IT IS SO ORDERED.
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                                                                         10        Dated: September 11, 2014
                               For the Northern District of California
United States District Court




                                                                         11                                        UNITED STATES DISTRICT JUDGE

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